Case: 5:15-cr-00245-JG Doc #: 523 Filed: 01/26/17 1 of 5. PageID #: 4074



 UNITED STATES DISTRICT COURT
 NORTHERN DISTRICT OF OHIO
 -------------------------------------------------------
                                                       :
 LARRY DIXON,                                          :      Case No. 5:15-CR-245
                                                       :      Case No. 5:16-CV-2803
                   Petitioner,                         :
                                                       :
 vs.                                                   :      OPINION & ORDER
                                                       :      [Resolving Doc. 5131]
 UNITED STATES OF AMERICA,                             :
                                                       :
                   Respondent.                         :
                                                       :
 -------------------------------------------------------

 JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:

          On November 17, 2016, Defendant Larry Dixon petitioned for habeas corpus relief under

 28 U.S.C. § 2255.2 For the following reasons, the Court DENIES Defendant’s motion.

                                                 I.        Background

          On July 1, 2015, the United States indicted Defendant Dixon and others for conspiracy to

 possess with intent to distribute cocaine in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and

 846; and use of a communication facility to facilitate a drug trafficking offense in violation of 21

 U.S.C. § 843(b).3

          On October 15, 2015, Dixon pled guilty to conspiracy to possess with intent to distribute

 cocaine.4 In their plea agreement, the parties agreed to a base offense level of 14 under U.S.S.G.

 § 2D1.1(c)(13) and a two-level reduction for acceptance of responsibility.5

          On January 15, 2016, this Court sentenced Dixon to one year and one day’s

 imprisonment followed by three years’ supervised release.6 Dixon did not appeal.



 1
   All citations are to the criminal docket, Case No. 1:15-CR-245.
 2
   Doc. 513. The Government responds. Doc. 521. Dixon replies. Doc. 522.
 3
   Doc. 1.
 4
   Doc. 199.
 5
   Id. at 2.
 6
   Doc. 353.
Case: 5:15-cr-00245-JG Doc #: 523 Filed: 01/26/17 2 of 5. PageID #: 4075

 Case No. 5:15-CR-245
 Gwin, J.

         On November 17, 2016, Defendant Larry Dixon petitioned for habeas corpus relief under

 28 U.S.C. § 2255.7 Dixon argues ineffective assistance of counsel for his lawyer’s failure to

 prepare an adequate defense, for failing to investigate Dixon’s relationship with co-conspirators,

 and for “promis[ing]” him a sentence of probation.8

                                             II.          Legal Standards

        A. 28 U.S.C. § 2255 Relief

        Title 28 United States Code Section 2255 gives a federal prisoner post-conviction means of

 collaterally attacking a conviction or sentence that he alleges violates federal law. Section 2255

 provides four grounds upon which a federal prisoner may challenge his conviction or sentence:

         1) That the sentence was imposed in violation of the Constitution or laws of the
         United States;
         2) That the court was without jurisdiction to impose such sentence;
         3) That the sentence exceeded the maximum authorized by law; or
         4) That the sentence is otherwise subject to collateral attack.9

         To prevail on a § 2255 motion alleging a constitutional error, the movant “must establish

 an error of constitutional magnitude which had a substantial and injurious effect or influence on

 the proceedings.”10

                                                   III.     Discussion

        To prevail on an ineffective assistance of counsel claim, a habeas petitioner must satisfy

 the two-pronged Strickland v. Washington11 test.

         First, the petitioner must show that his counsel’s performance was deficient, meaning it

 “fell below an objective standard of reasonableness.”12 The Court determines “whether, in light


 7
   Doc. 513.
 8
   Id.
 9
   28 U.S.C. § 2255(a).
 10
    Watson v. United States, 165 F.3d 486, 488 (6th Cir. 1999) (citing Brecht v. Abrahamson, 507 U.S. 619, 637-38
 (1993)).
 11
    466 U.S. 668 (1984).
 12
    Id. at 688.
                                                           -2-
Case: 5:15-cr-00245-JG Doc #: 523 Filed: 01/26/17 3 of 5. PageID #: 4076

 Case No. 5:15-CR-245
 Gwin, J.

 of all the circumstances, the identified acts or omissions were outside the wide range of

 professionally competent assistance.”13 The Court’s review is deferential, as “strategic choices

 made after thorough investigation of law and facts relevant to plausible options are virtually

 unchallengeable.”14

         Second, the petitioner must show that the deficiency prejudiced his defense; in other

 words, “that there is a reasonable probability that, but for counsel’s unprofessional errors, the

 result of the proceeding would have been different.”15

        In this case, Defendant Dixon first argues that his counsel provided ineffective assistance

 by failing to advocate zealously. For example, Dixon argues that his lawyer did not “call for full

 discovery” or “[go] over any potential witnesses” that may have been called at trial.16

         The Court finds just the opposite. Dixon’s lawyer serve discovery requests on the

 Government,17 to which the Government responded.18 Defendant Dixon also testified that he had

 no complaints about the way his attorney represented him.19 Counsel’s efforts in representing

 Dixon do not “f[a]ll below an objective standard of reasonableness.”20 Therefore, Dixon’s first

 argument loses.

        Next, Dixon argues that his lawyer failed to investigate his relationship—or lack thereof—

 with co-conspirators, which would have established his innocence.21 This claim also fails.




 13
    Id. at 690.
 14
    Id. at 690-91.
 15
    Id. at 695.
 16
    Doc. 513-1 at 5.
 17
    Docs. 17, 17-1.
 18
    Doc. 521 at 14-15. The Court was never aware of any complaint that the Government failed to respond to
 Defendant’s discovery request adequately.
 19
    Doc. 517 at 8.
 20
    Strickland, 466 U.S. at 668.
 21
    Doc. 513-1 at 4-7.
                                                        -3-
Case: 5:15-cr-00245-JG Doc #: 523 Filed: 01/26/17 4 of 5. PageID #: 4077

 Case No. 5:15-CR-245
 Gwin, J.

        Even if Dixon had no relationship with nearly all of his co-conspirators, a conspiracy

 requires the agreement of only two or more persons.22 Dixon admits that he has a relationship

 with co-defendant Emery Lee and contacted Lee to obtain drugs.23 Dixon acknowledges “that

 his actions were criminal in nature.”24

        Even if Dixon could show that his lawyer should have been more diligent in researching

 Dixon’s relationship with other co-conspirators, such information would not have changed the

 course of the case.25 Thus, Dixon’s argument does not demonstrate ineffective assistance of

 counsel.

        Last, Dixon argues that his lawyer “promised” that Dixon would receive a sentence of

 probation, and therefore inappropriately advised Dixon to enter a plea agreement.

        Dixon offers no evidence that he did not knowingly and voluntarily enter his plea

 agreement. The plea agreement made no suggestion that Dixon would receive probation. It

 suggested the opposite. And in his plea colloquy, Dixon stated that no outside promises

 influenced his decision to plead guilty. Based on that agreement, he could not have reasonably

 believed that he would receive a sentence of probation for his offense.26

        In the plea agreement, Dixon acknowledged27 that he was subject to a total offense level

 of 14 with a two-level reduction for acceptance of responsibility.28 At the change of plea hearing,

 Dixon confirmed his understanding of the plea agreement29 and acknowledged that federal

 sentencing is within the Court’s discretion.



 22
    See, e.g., United States v. Galicia, 609 F. App’x 302, 304 (6th Cir. 2015).
 23
    Doc. 513-1 at 2-3.
 24
    Id. at 3.
 25
    Strickland, 466 U.S. at 695.
 26
    Nor is there evidence that Dixon’s lawyer “promised” him that he would receive probation.
 27
    Doc. 199 at 11 (signature page).
 28
    Id. at 5.
 29
    Doc. 517 at 10-12.
                                                        -4-
Case: 5:15-cr-00245-JG Doc #: 523 Filed: 01/26/17 5 of 5. PageID #: 4078

 Case No. 5:15-CR-245
 Gwin, J.

         Even if Dixon had a Criminal History Category I,30 the Guidelines range would be 10-16

 months. Therefore, probation was a possible but unlikely sentence.

                                                IV.      CONCLUSION

         For the reasons above, this Court DENIES Defendant Dixon’s § 2255 petition.

 Furthermore, there is no basis upon which to issue a certificate of appealability.31



          IT IS SO ORDERED.



 Dated: January 26, 2017                                             s/       James S. Gwin
                                                                     JAMES S. GWIN
                                                                     UNITED STATES DISTRICT JUDGE




 30
    In fact, Dixon’s pre-plea presentence report put him at a criminal history category III, Doc. 144 at 11, which
 dictates a 15-21 month sentencing range.
 31
    28 U.S.C. § 2253(c); Fed. R. App. P. 22(b).
                                                           -5-
